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                                          NITED STATES ISTRICT C OURT
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                                                     Soutllern DistrictofFlorida

                United StatesofAlmerica

                                                                                CaseN o. 16-5033-SNOW
    GABRIEL GARCI
                A-SOLARgALONSO BARREFW MONTES.
      PMOI
        ERESZES
            -
               AGUILAR-ORDONEG JOSECANDELARIO
              CRUZ.Jose FernandoVILLEZ-PICO,MARTIN
     VALECILLO-ORTIZ,and JoseMartinLUCAS.FRANCO .
                         Dc7e??(/r/?
                                   f(s)

                                                      CRIM G AL COM PLA G T

         1,the complainantin tlpiscase,statethatthe follow ing istrue to the bestofmy knowledge and belief.
Onoraboutthedatets)of                       ()-q
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                                                         %401%     .. inthecountyof              - - - - .- ..- .. .   Mpn.çp.
                                                                                                                             :- - ..- inthc
     Southern        Districtof                 yiorida   --     ,t
                                                                  hedefendantts)violated'
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           CodeSection                                                               QtfenseDe-
                                                                                              b'
                                                                                               cription

    Title 46.United States Code,                 Conspiracy to possesswith the intentto distribute a controlled substance,
    Seclion'
           ?0506(b)                              whileonboard avesselsubjecttothejurisdictionofthe United States,in
                                                 vi
                                                  olationof46U.S.C.j70503,.aIIinvlolationof46 U.S.C.j70506(b).
                                                 Pursuantto46 U.S.C.j70506(à),and21U.S.C.j960(b)(1)(G),itisfurther
                                                 alleged thatthis violation invctved 5 kilogram s orm ore ofa m ixture and
                                                 substance containing a detectable am ountofcocaine.


         Thiscrii
                n inalcolnplaintisbaseclon these facts:

                                                 SEE ATTACHED AFFIDAVI
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         V Continuedontheattachedsheet,




Swornto beforem eand signed in my presence.

Date: lt    ,
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                                           AFFIDA VIT

         1,D anielF.K enney,being duly sworn,do hereby depose and state the follow ing:

             I am employed as a special agent w ith the Departm ent of Hom eland Security,

  Homeland SecurityInvestigations(HSl)andhavebeensoemployedforoverfouryears.During
  that tim e,1 have received training through the H Sltraining program atG lynco,G eorgia,and l

  have conducted investigations into crim inalviolations of the federal law s governing the illegal

  trafficking and im portation ofnarcotics into the United States,im m igration violations,aswellas

  other customs related offenses. Beforejoining HSI,1wasa SpecialAgentwith the U.S.
  DepartmentofState,Diplomatic Security Service,forapproximately ten (10)years. Ihave
  received training and been assigned to conductinvestigationsofcrim inalviolations ofthe U nited

  StatesCode,asenum erated in Titles 18,19,21,22,3l,46 and variousotherfederalstatutes.

         2. I subm it this affidavit based on infonnation known to m e personally from the

  investigation,as wellas inform ation obtained from others who have investigated the m atter or

  have personalknowledge of the facts herein. This affidavit is being subm itted in supportof a

  Criminal Complaint against Gabriel GARCIA-SOLAR (GARCIA), Alonso BARRERA-
  MONTESIBARRERAI,M oisesAGUILAR-ORDONEZ (AGUILAR),JoseCandelarioPEREZ-
  CRUZ (PEREZ),Jose Fernando VILLEZ-PICO (VILLEZ), Martin VALLECILLO-ORTIZ
  (VALLECILLO)andJoseMartinLUCAS-FM NCO (LUCAS)andassuch,doesnotincludeall
  the inform ation known to m e as partof this investigation, but only inform ation sufficient to

  establish probable cause forthe arrestof GARCIA ,BARRERA,AG UILAR,PEREZ,VILLEZ,

  VALLECILLO and LUCAS fora violations ofTitle 46 USC 70503(a)(1)and Title 46 USC
  70506(b),thatis,knowingly and willfully conspiring to possesswith intentto distribute five
  kilogramsormore ofcocaine,whileonboard avesselsubjectto thejurisdiction oftheUnited
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  States.

         3. On or aboutOctober 18,20l6,a M arine PatrolAircraft (M PA) located a suspect
  vesselapproxim ately l50 N M south ofA capulco,M exico,in internationalw aters and upon the

  highseas.TheCoastGuardCutter(CGC)Mellonwasapproximately55NM awayanddiverted
  forintercept.TheMPA identifiedthesuspectvesselasaGoFastVessel(GFV)withabluetarp
  covering the deck. The MPA observed the GFV jettison several packages and continue
  transiting north atbetween 20-30 knots. The CGC Mellon launchedtwo (2)OvertheHorizon
  (OTH)vesselswhichtookpositivecontroloftheGFV.UponmakingcontactwiththeGFV,the
  OTH boarding team observed no flag tlow n,no registration docum ents,no registration num bers

  on the hull,no hom eporton the hull,no nam e on the hull,and no painted tlag.The m asterofthe

  vessel(GARCIA)made a verbalclaim ofMexican nationality forthe vesseland allseven
  persons onboard. The M exican governm entw as contacted and could neither confirm nordeny

  registry ofthe vessel,allow ing the vesselto be considered tçwithoutnationality''and,therefore,a

  vesselsubjectto thejurisdiction ofthe United States. This allowed for a law enforcement
  boarding.TheGFV yieldedsevenpersonsonboard,GARCIA (M exicanNational),BARRERA
  (M exican National),AGUILAR (Mexican National),PEREZ (M exican National),VILLEZ
  (EcuadoranNational),VALLECILLO (ColombianNational)andLUCAS (EcuadoranNational).
  A fterthe boarding was initiated,the GFV crew appeared to becom e increasingly agitated,and

  w astransferred to the CGC M ellon forofficersafety.

         4. The GFV crew did not possess identifk ation docum ents, currency or registration

  docum ents forthe vessel. The OTH boarding team did notobserve fishing equipm ent,food or

  any othersupplies thatw ould constitute a purpose forthe vesselto be located approxim ately l50

  N M south ofAcapulco,M exico.
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                              The M PA w as able to l-eacquire the debrisfield and vectored the OTH vessels to the

          location whcre approxim ately 36 packagesw ere recovered. The 36 packagesw ere transftrred to

          the CGC M ellonaand found to weigh approxim ately 940 kilogram s. A subsequentfield testof

          the packagesyielded positive resultsforcocaine.

                              The CG C M ellon reqtlested and was granted pqrm ission to sink the GFV as a Hazard

          toNavigation(HAZNAV)duetoitsdistanceoffshore,1ow freeboard(distancefrom waterlineto
          the upperdeck),gasolineftlmesand impending weather.
                              Based on the inform ation and facts,your affiant subm its,there is probable cause to

          believe that Gabriel GA RCIA-SO LAR, A lonso BARRERA -M ON TES, M oises A GU ILAR-

          ORD ONEZ, Jose Candelario PEREZ-CRUZ, Jose Fernando V ILLEZ-PICO, M alin

          V ALLECILLO -ORTIZ and Jose M artin LUCA S-FRAN CO knoW ingly and w illfully conspired

          to possess with intentto distribute five kilograms ormore ofcocaine,while on board a vessel

          subjecttothejurisdictionoftheUnited StatesinviolationTitle46USC 70503(a)(1)andTitle46
          USC 70506(b).

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          this     day ofNovember.2016.
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